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                                                                                      United States District Court
                                                                                        Southern District of Texas
                       IN THE UNITED STATES DISTRICT COURT
                                                                                           ENTERED
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                                                                         August 24, 2018
                                HOUSTON DIVISION
                                                                                        David J. Bradley, Clerk

STEVE LORICK,                            §
                                         §
                 Plaintiff,              §
                                         §
v.                                       §            CIVIL ACTION NO. H-17-2559
                                         §
PRESTON J. JULIAN, JR. individually and  §
d/b/a ANGEL MORTGAGE INCOME              §
RESOURCES,                               §
                 Defendants and          §
                 Third-party plaintiffs, §
v.                                       §
                                         §
FREDERICA BREAUX,                        §
MIA BREAUX LORICK, and                   §
FAMN PROP LLC,                           §
                                         §
                 Third-party defendants. §

                                             ORDER

       The defendants filed a motion to terminate oral depositions, (Docket Entry No. 76). The

filing of this motion is inconsistent with this court’s procedures, which require the following:

       Any party wishing to make any discovery motion should arrange for a
       conference with the court before the preparation and submission of any motion
       papers.       Fax or e-mail Mrs. Eddins at (713) 250-5213 or
       Lisa_Eddins@txs.uscourts.gov to arrange for a premotion conference and
       notify your adversary of the date and time fixed for the conference. To the
       extent the proposed motion can be disposed of at the premotion conference, this
       will be done. If papers are necessary, the issues to be addressed and a schedule
       for the briefs will be set out at the conference.

This motion is stricken. Counsel must contact Mrs. Eddins to arrange a premotion conference.

               SIGNED on August 24, 2018, at Houston, Texas.

                                                   ______________________________________
                                                            Lee H. Rosenthal
                                                      Chief United States District Judge
